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ORIGINAL
                                                                         FILED IN OPEN COURT
                                                                           U.S.O.C. -Atlanta


                                                                           DEC 1 1 2024
                  IN THE UNITED ST ATES DISTRICT COURT KEVI!:_ ~ MER. Clerk
                 FOR THE NORTHERN DISTRICT OF GEORGIA By D(_) Oq'llty Clerf
                           ATLANTA DIVISION


    UNITED ST ATES OF AMERICA

          V.                                  Criminal Indichnent
                                                      1:24CR-0397
    OTIS STORY, A/ K/ A UNEEK,                No.
    A/ K/ A MONST A


 THE GRAND JURY CHARGES THAT:

                                 Count One
    (Conspiracy to Possess Controlled Substances with Intent to Distribute)
    Beginning on a date unknown, but at least by on or about February 22, 2024,

 and continuing until on or about May 13, 2024, in the Northern District of Georgia

 and elsewhere, the defendant, OTIS STORY, A/ K/ A UNEEK, A/ K/ A MONSTA, did
 knowingly and willfully corn.bine, conspire, confederate, agree, and have a tacit
 understanding with others known and unknown to the Grand Jury, to violate Title
 21, United States Code, Section 841(a)(1), that is, to knowingly and intentionally

 possess with intent to distribute a controlled substance, said conspiracy involving
 at least 50 grams of a mixture or substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, pursuant to Title 21,

 United States Code, Section 841(b)(l)(B), all in violation of Title 21, United States

 Code, Section 846.
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                                  Count Two
         (Possession with Intent to Distribute a Controlled Substance)
   On or about May 2, 2024, in the Northern District of Georgia, the defendant,

OTIS STORY A/ K/ A UNEEK, A/K/ A MONSTA, did knowingly and intentionally
possess with intent to distribute a controlled substance, said act involving at least

50 grams of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, pursuant to Title 21,

United States Code, Section 841(b)(l)(B), all in violation of Title 21, United States

Code, Section 841(a)(l).

                                  Count Three
         (Possession with Intent to Distribute a Controlled Substance)
   On or about May 13, 2024, in the Northern District of Georgia, the defendant,

OTIS STORY A/K/ A UNEEK, A/K/ A MONSTA, did knowingly and intentionally

possess w ith intent to distribute a controlled substance, said act involving at least

50 grams of a mixture or substan.ce containing a detectable amount of

methamphetamine, a Schedule II controlled substance, pursuant to Title 21,
United States Code, Section 841(b)(l)(B), all in violation of Title 21, United States

Code, Section 841(a)(l).

                                  Count Four
          (Possession of a Firearm During a Drug Trafficking Crime)
   On or about May 13, 2024, in the Northern District of Georgia, the defendant,

OTIS STORY A/K/ A UNEEK, A/K/ A MONSTA, did knowingly possess a firearm,

that is, One (1) Glock, model 26, 9MM pistol; One (1) Glock, model 17, 9MM pistol;

and One (1) Zombie Defense, AR-15 rifle; in furtherance of a drug trafficking crime

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for which the defendant may be prosecuted in a court of the United States, that is,

Possession with Intent to Distribute a Controlled Substance, in violation of Title

21, United States Code, Section 841 (a)(l), as charged in Count Three of this

Indictment, all in violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                   Count Five
                        (Felon in Possession of a Firearm)
   On or about May 13, 2024, in the Northern District of Georgia, the defendant,

OTIS STORY A/ K/ A UNEEK, A/K/ A MONSTA, knowing that he had been

previously convicted of at least one of the following offenses, each of which was a

crime punishable by imprisonment for a term exceeding one year:
   1. Possession with Intent to Distribute Cocaine and Carrying a Firearm In

      Furtherance of a Drug Trafficking Crime, in the United States District Court
      for the District of South Carolina, on or about August 4, 2008;
   2. Financial Identity Fraud, in the Superior Court of Gwinnett County, on or

      about August 24, 2009;
   3. Possession of Firearm by Convicted Felon, in Douglas County Superior
      Court, on or about August 25, 2021; and
   4. Possession of Firearm by Convicted Felon, in Walton County Superior
      Court, on or about October 6, 2021;

did knowingly possess a firearm, that is, a Zombie Defense, AR-15 rifle, said

possession being in and affecting interstate and foreign commerce, all in violation

of Title 18, United States Code, Section 922(g)(l).




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                                     Forfeiture

Upon conviction of one or more of the offenses alleged in Counts One through
Three of this Indictment, the defendant, OTIS STORY, shall forfeit to the United

States of America, pursuant to Title 21, United States Code, Section 853(a), any

property constituting, or derived from, proceeds obtained, directly or indirectly,

as a result of said violations and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of said violations,

including but not limited to, the following:

      MONEY JUDGMENT:           A sum of money in United States

      currency representing the amount of proceeds obtained as a result

      of the offenses alleged in Count One through Three of this

      Indictment.

Upon conviction of one or more of the offenses alleged in Counts Four and Five of

this Indictment, the defendant, OTIS STORY, shall forfeit to the United States of

America, pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28,

United States Code, Section 2461(c), any firearms and ammunition involved in or
used in the commission of the offenses.

   If, any of the property described above, as a result of any act or omission of the

defendant:

   (a) cannot be located upon the exercise of due diligence;

   (b) has been transferred or sold to, or deposited with, a third party;

   (c) has been placed beyond the jurisdiction of the court;

   (d) has been substantially diminished in value; or

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   (e) has been commingled with other property which cannot be divided without

      difficulty;

the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the

forfeitable property.


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RYAN K. BUCHANAN


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